






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00061-CV






Jessica Gutierrez Hernandez, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF MCCULLOCH COUNTY, 198TH JUDICIAL DISTRICT

NO. 2008102, HONORABLE ROB HOFFMAN, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Jessica Gutierrez Hernandez appeals a judgment terminating her parental rights.  The
Texas Department of Family and Protective Services filed suit to terminate Hernandez's parental
rights with regard to her child M.L.G.  See Tex. Fam. Code Ann. § 262.001(a) (West 2008).  The
Department alleged that termination was proper under several provisions of the family code.  See id.
§ 161.001(1)(A), (B), (M) (West Supp. 2010).

		Hernandez elected a jury trial.  During voir dire, her attorney attempted to present the
venire with information about certain aspects of Texas family law.  The trial court refused to let him
present the information.  

		After a multi-day trial, the jury found by clear and convincing evidence that
terminating Hernandez's parental rights was in M.L.G.'s best interest.  Accordingly, the court
entered judgment terminating Hernandez's parental rights.  On appeal, Hernandez argues that the
trial court erred by limiting her attorney's presentation to the venire.

		We hold that Hernandez failed to preserve error on this issue.  "Not later than the
15th&nbsp;day after the date a final order" terminating parental rights "is signed by the trial judge, a party
who intends to . . . appeal the order must file with the trial court . . . a statement of the point or points
on which the party intends to appeal."  Id. § 263.405(b) (West 2008).  We "may not consider any
issue that was not specifically presented to the trial court in a timely filed statement of the points on
which the party intends to appeal."  Id. § 263.405(i).  The statement of points Hernandez presented
to the trial court did not contain the issue Hernandez raises on appeal.  We therefore cannot consider
the issue.  Id; see also In re J.H.G., 302 S.W.3d 304, 305 (Tex. 2010) (per curiam) (issues not
included in statement of points are waived on appeal).  Hernandez raises no other issues, so we must
affirm the judgment.


						__________________________________________

						David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   May 27, 2011


